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 9                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
10
      United States of America ex rel. Jagroop        ) Case No.: 3:19-cv-00629-MMD-CLB
11    Sandhu,                                         )
                                                      )
12                   Plaintiff,                       ) Joint Stipulation of Dismissal
                                                      )
13           v.                                       )
                                                      )
14    Enterprise Holdings, Inc., et al.,              )
                                                      )
15                   Defendants.                      )
                                                      )
16

17          Pursuant to Rule 41(a)(1)(A)(ii), the United States of America and relator Jagroop

18   Sandhu notify the Court that they stipulate to voluntarily dismiss this case with prejudice

19   subject to the terms of the settlement between the parties.

20

21          Dated: October 19, 2020                       Dated: October 19, 2020

22          NICHOLAS A. TRUTANICH
            United States Attorney
23

24          /s/ Lindsay Ager                              /s/ Lon Leavitt
            ____________________________                  ______________________________
25          LINDSAY A. AGER                               LON LEAVITT
            Assistant United States Attorney              Counsel for Relator Jagroop Sandhu
26

27   IT IS SO ORDERED:
     dated: October 19, 2020                              _____________________________
28                                                        U.S. District Judge


                                                      1
